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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

THE STATE OF LOUISIANA, et al.,
                                                      CIVIL ACTION NO.
              Plaintiff,                           2:23-CV-01839-DJP-JVM

       v.                                          JUDGE DARREL JAMES
                                                       PAPILLION
DEPARTMENT OF HOMELAND
SECURITY, et al.,                               MAGISTRATE JUDGE EVA J.
                                                       DOSSIER
              Defendants.


      ORDER GRANTING CHANGE IN DESIGNATION OF THE TRIAL
              ATTORNEY FOR CERTAIN PLAINTIFFS

       The Court has considered Plaintiffs’ ex parte motion (R. Doc. 112) to change

the designation of the Trial Attorney for Plaintiffs from Attorney General Liz

Murrill to Deputy Solicitor General Morgan Brungard.
      The motion is hereby GRANTED. Morgan Brungard is now Plaintiffs’ Trial

Attorney. The Clerk is directed to change Plaintiffs’ “Lead Attorney” designation on

the docket to reflect this change.

      New Orleans, Louisiana, this 6th day of May 2024.



                                       ________________________________________
                                            DARREL JAMES PAPILLION
                                        UNITED STATES DISTRICT JUDGE
